             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                 CIVIL CASE NO. 1:12-cv-00265-MR
             [CRIMINAL CASE NO. 1:01-cr-00048-MR-6]


KIRK PRYOR,                 )
                            )
              Petitioner,   )
                            )              MEMORANDUM OF
     vs.                    )              DECISION AND ORDER
                            )
UNITED STATES OF AMERICA, )
                            )
              Respondent.   )
___________________________ )

      THIS MATTER is before the Court on Petitioner’s Motion to Vacate,

Set Aside, or Correct Sentence, pursuant to 28 U.S.C. § 2255 or,

alternatively, for relief under 28 U.S.C. § 2241 or under the writs of error

coram nobis and audita querela [Docs. 1, 4]; the Government’s Response

in Opposition [Doc. 6]; and the Government’s Motion for Leave to File Out

of Time [Doc. 9]. Petitioner is represented by Ross H. Richardson of the

Federal Defenders of Western North Carolina. For the reasons that follow,

Petitioner’s motion to vacate will be denied, and the § 2255 petition will be

dismissed as untimely.      Furthermore, Petitioner is not entitled to relief

under any of his alternative grounds for relief.




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I.     PROCEDURAL HISTORY

        Petitioner Kirk Pryor was indicted by the Grand Jury for the Western

District of North Carolina on July 10, 2001, and charged with conspiracy to

possess with intent to distribute crack and powder cocaine, in violation of

21 U.S.C. §§ 841(a)(1) and 846. [Criminal Case No. 1:01-cr-00048-MR-6,

Doc. 3: Indictment]. The same day, the Government filed an Information in

accordance with 21 U.S.C. § 851, notifying Petitioner and this Court that it

intended to seek enhanced penalties based on Petitioner’s prior felony drug

offenses. [Id., Doc. 5: Information]. In particular, the Government asserted

in the Information that Petitioner had been convicted of possession with

intent to sell or deliver a Schedule II controlled substance on two occasions

-- January 5, 1994 and May 11, 1995 -- in Henderson County Superior

Court. [Id.].

       Petitioner’s case was ultimately tried before a jury, and the jury found

him guilty of the drug-trafficking conspiracy offense. [Id., Doc. 178: Jury

Verdict].    Before Petitioner’s sentencing hearing, the probation office

prepared a Presentence Report (“PSR”), in which the probation officer

calculated a base offense level of 38 and recommended a three-level

enhancement based on Petitioner’s role in the conspiracy. [Id., Doc. 597 at

6-7: PSR].      The probation officer reviewed Petitioner’s criminal history,


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which included convictions of four offenses on January 5, 1994 — all of

them for possession with intent to sell and deliver a Schedule II controlled

substance — for which Petitioner received three years of imprisonment for

each conviction. [Id. at 8-9]. Petitioner’s criminal history also included the

conviction on May 11, 1995, for possession with intent to sell and delivery

cocaine, for which Petitioner was sentenced to 7 to 11 months in prison.

[Id. at 10]. Based on these prior felony drug offenses, the probation officer

noted that Petitioner was subject to a statutory mandatory minimum term of

life in prison. [Id. at 14]. Consistent with the probation officer’s calculation,

this Court sentenced Petitioner to life in prison, entering its judgment on

July 15, 2002. [Id., Doc. 255: Judgment]. Petitioner appealed, and the

Fourth Circuit affirmed this Court’s judgment on September 15, 2003.

United States v. Pryor, 75 F. App’x 157 (4th Cir. 2003).

      On August 17, 2012, Petitioner filed a pro se motion to vacate his

conviction under 28 U.S.C. § 2255. [Doc. 1]. On April 1, 2013, counsel

filed a supplement to the motion to vacate, alternatively seeking relief under

28 U.S.C. § 2241 or for writs of error coram nobis and audita querela.

[Doc. 4].   In this supplemental petition, counsel argues that one of the

convictions used to support Petitioner’s sentence enhancement, namely his

May 1995 conviction, was not punishable by more than one year in prison,


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as established by the Fourth Circuit’s decision in United States v.

Simmons, 649 F.3d 237 (4th Cir. 2011). [Id.]. On March 4, 2014, this Court

ordered the Government to respond, and the Government filed its brief in

response on June 17, 2014. [Docs. 5, 9].

II.      STANDARD OF REVIEW

         Rule 4(b) of the Rules Governing Section 2255 Proceedings provides

that courts are to promptly examine motions to vacate, along with “any

attached exhibits and the record of prior proceedings . . .” in order to

determine whether the petitioner is entitled to any relief on the claims set

forth therein. After examining the record in this matter, the Court finds that

the argument presented by Petitioner can be resolved without an

evidentiary hearing based on the record and governing case law.              See

Raines v. United States, 423 F.2d 526, 529 (4th Cir. 1970).

III.     DISCUSSION

         On April 24, 1996, Congress enacted the Antiterrorism and Effective

Death Penalty Act (the “AEDPA”).            Among other things, the AEDPA

amended 28 U.S.C. § 2255 to include a one-year statute of limitations

period for the filing of a motion to vacate. The limitation period runs from

the latest of:

               (1) the date on which the judgment of conviction
               becomes final;
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            (2) the date on which the impediment to making a
            motion created by governmental action in violation
            of the Constitution or laws of the United States is
            removed, if the movant was prevented from making
            a motion by such governmental action;

            (3) the date on which the right asserted was initially
            recognized by the Supreme Court, if that right has
            been newly recognized by the Supreme Court and
            made retroactively applicable to cases on collateral
            review; or

            (4) the date on which the facts supporting the claim
            or claims presented could have been discovered
            through the exercise of due diligence.

28 U.S.C. § 2255(f)(1)-(4).       As noted, the Fourth Circuit affirmed

Petitioner’s conviction and sentence on September 15, 2003.               Here,

Petitioner’s judgment became final when his time for filing a petition for writ

of certiorari expired, or 90 days after the Fourth Circuit entered its mandate.

Petitioner’s motion, which was filed on August 17, 2012, is untimely under §

2255(f)(1), and none of the other subsections applies to render the petition

timely.

      Petitioner argues, however, that this Court should equitably toll the

statute of limitations. In the Fourth Circuit’s recent decision in Whiteside v.

United States, 748 F.3d 541 (4th Cir. 2014), the Court addressed equitable

tolling as it applies to petitioners seeking relief under Simmons and held

that equitable tolling applies as long as the error “worked a gross
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miscarriage of justice” and the petitioner “pursued his rights diligently by

filing his motion within a year of ... Simmons.”1 Id. at 546. Here, while

Petitioner filed his motion to vacate one year to the day after Simmons was

decided, the application of the statutory mandatory minimum in this case

did not work a gross miscarriage of justice because Petitioner had four

qualifying prior felony drug offenses.

      Title 21, section 851 provides for enhanced sentences based on any

prior “felony drug offense.” That term is defined in 21 U.S.C. § 802(44) as

“an offense that is punishable by imprisonment for more than one year

under [any state or federal law relating to narcotics or marijuana].”                In

Simmons, the Fourth Circuit held that an offense qualifies as a “felony drug

offense” for purposes of § 841(b)(1) and is punishable by more than one

year in prison only if the defendant could have received a sentence of more

than one year in prison, overturning its earlier decisions in United States v.

Jones, 195 F.3d 205 (4th Cir. 1999), and United States v. Harp, 406 F.3d

242 (4th Cir. 2005), in which the Fourth Circuit had held that an offense is

punishable by more than one year in prison as long as any defendant could

receive a term of imprisonment of more than one year upon conviction for

that offense. See Simmons, 649 F.3d at 247. Thus, for purposes of a

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  On July 10, 2014, the Fourth Circuit granted the Government’s motion for an en banc
rehearing in Whiteside.

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qualifying predicate conviction under § 841(b)(1), a predicate conviction is

not “punishable for a term exceeding one year,” unless the defendant could

have received a sentence of more than one year in prison under the North

Carolina Structured Sentencing Act.

     Here, Petitioner was convicted of four drug-trafficking offenses on

January 5, 1994, and sentenced to three years in prison as to each one.

See [Criminal Case No. 1:01-cr-00048-MR-6, Doc. 597 at 8-9]. While the

Government’s Section 851 Information did not identify each of these

convictions separately, it did provide Petitioner and this Court with notice

that the Government would seek a sentence enhancement because

Petitioner was convicted on that date of a felony drug trafficking offense.

Because Petitioner had four convictions sufficient to support an

enhancement that requires only two such prior convictions, see 21 U.S.C. §

841(b)(1)(A), the enhancement of Petitioner’s sentence did not work a

gross miscarriage of justice. Even though Petitioner filed his motion to

vacate within a year of Simmons, equitable tolling is not warranted, and his

motion to vacate will be dismissed as untimely.

     Petitioner also seeks relief under 28 U.S.C. § 2241, which is

generally a means of attacking the manner in which a sentence is

executed, not the validity of the conviction itself. Tolliver v. Dobre, 211


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F.3d 876, 877 (5th Cir. 2000). As the Fourth Circuit recognized in In re

Jones, 226 F.3d 328 (4th Cir. 2000), however, where § 2255 is inadequate

or ineffective to test the legal validity of a petitioner’s conviction, the

“savings clause” of § 2255 permits a petitioner to seek relief under § 2241.

In re Jones, 226 F.3d at 333. In this case, however, § 2241 relief is not

appropriate because Petitioner had four qualifying predicate convictions

and his mandatory life sentence was properly imposed.

       Petitioner also seeks relief through a writ of error coram nobis or a

writ of audita querela. Coram nobis relief is only available, however, when

all other avenues of relief are inadequate and where the defendant is no

longer in custody. In re Daniels, 203 F. App’x 442, 443 (4th Cir. 2006).

Here, Petitioner is in custody, rendering coram nobis relief unavailable.

Similarly, audita querela relief is only available to “plug a gap in the system

of federal postconviction remedies,” United States v. Johnson, 962 F.2d

579, 583 (7th Cir. 1992), and Petitioner’s claim does not fall within such a

gap.    Instead, Petitioner’s claim simply fails because it is untimely

presented and, even if timely presented, does not present a cognizable

claim of error.




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IV.     CONCLUSION

        For the reasons stated herein, the Court will dismiss the § 2255

petition as untimely. Furthermore, Petitioner is not entitled to relief under

any of his alternative theories.

        The Court finds that the Petitioner has not made a substantial

showing of a denial of a constitutional right. See generally 28 U.S.C. §

2253(c)(2); see also Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in

order to satisfy § 2253(c), a “petitioner must demonstrate that reasonable

jurists would find the district court’s assessment of the constitutional claims

debatable or wrong”) (citing Slack v. McDaniel, 529 U.S. 473, 484-85

(2000)).    Petitioner has failed to demonstrate both that this Court’s

dispositive procedural rulings are debatable, and that his Motion to Vacate

states a debatable claim of the denial of a constitutional right. Slack v.

McDaniel, 529 U.S. 473, 484-85 (2000). As a result, the Court declines to

issue a certificate of appealability.       See Rule 11(a), Rules Governing

Section 2255 Proceedings for the United States District Courts, 28 U.S.C. §

2255.




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                              ORDER

   IT IS, THEREFORE, ORDERED THAT:

   1.    Petitioner’s § 2255 motion [Doc. 1], as supplemented [Doc. 4],

         is DISMISSED WITH PREJUDICE as untimely, and Petitioner’s

         alternative requests for relief are DENIED;

   2.    The Government’s Motion for Leave to File Out of Time [Doc. 9]

         is GRANTED nunc pro tunc; and

   3.    The Court declines to issue a certificate of appealability.

   IT IS SO ORDERED.
                                Signed: August 6, 2014




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